                    THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                          CASE NO. 5:20-CV-00441-M

NEW HORIZON GROUP                          )
HOME, LLC,                                 )
                                           )
                 Plaintiff,                )
                                           )
       v.                                  )
                                           )
NORTH CAROLINA                             )
DEPARTMENT OF HEALTH                       )
AND HUMAN SERVICES,                        )
DIVISION OF HEALTH                         )
SERVICE REGULATION;                        )
                                           )
                 Defendant.                )


                    NOTICE OF VOLUNTARY DISMISSAL OF
                       ACTION WITHOUT PREJUDICE

      NOW COMES Plaintiff New Horizon Group, LLC. by and through its

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

gives notice of its voluntary dismissal, without prejudice, of its Verified Complaint,

and all claims therein, against North Carolina Department of Health and Human

Services, Division of Health Service Regulation, in the above-captioned matter.




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This the 13th day of November, 2020.

                                       SHANAHAN LAW GROUP, PLLC

                                By:      /s/ Brandon S. Neuman__________
                                       Kieran J. Shanahan, NCSB #13329
                                       Brandon S. Neuman, NCSB # 33590
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                                       Counsel for Plaintiff




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                         CERTIFICATE OF SERVICE

        I hereby certify that this 13th day of November, 2020 the foregoing NOTICE
OF VOLUNTARY DISMISSAL OF ACTION WITHOUT PREJUDICE was filed with
the Clerk of Courts using the CM/ECF system which will send notification of such
filing to the following:

                         Derek L. Hunter
                         Eric R. Hunt
                         N.C. Department of Justice
                         Post Office Box 629
                         Raleigh, NC 27602
                         dhunter@ncdoj.gov
                         ehunt@ncdoj.gov

                                             SHANAHAN LAW GROUP, PLLC

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